Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 1of 37

ProSe 14 (Rev. 12/16) Complaint for Violation of Civil Ri ghts (Prisoner)

UNITED STATES DISTRICT COURT
for the

District of New York

Division

CaseNo. __ Fria. o >> y

(to be filled in by the Clerk’s Office)

Jason A. Veg a

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
[f the names of all the plaintiffs cannot fit in the Space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

==

U.S. DISTRICT COURT - N.D. OF N.Y.

Acting Commissioner
Anthony Je Annueci, et. al.

e PAL. 2 OULORR
Defendant(s) John M. Domurad. Gerk = Syracuse
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
wrile “see attached” in the space and attach an additional page

with the full list of names. Do not include oddresses here}

pti PRED NEF MOTD: Set SS SP SE GS SR

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy

and security concerns resulting from public access to
electronic court files.

Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number, A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavi

its, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

in order for your complaint to be filed, it must be accom

panied by the filing fee or an application to proceed in
forma pauperis.

Page | of I]
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 2 of 37

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

I. The Parties to This Complaint ©

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name Jason A. Vego

All other names by which

you have been known:

ID Number 19A4104
Current Institution _ Greene Correctiona\ Facil ity

Address 165 Plank Road PO. Box 8
Coxsackle NY 42051-0008
City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical fo those contained in the above caption. For an individual defendant, include
the person’s job or title (ifknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. |

Name _Avtheny J Annuec}
Job or Title (known) Act} 2G : Commissioner
Shield Number The Harrimes State Compus
Employer New York State Dept. of Corrections ...
Address 1220 Washington Avenue
Albany NY 12226 - 2050
"City State Zip Code

Individual capacity ~ [Motta capacity

Defendant No. 2

Name Correctional Officer C
Job or Title (known) Cotrectional 6fficer
Shield Number
Employer New Yorks Grexe Dert of Corrections
Address The Harriman State Campus 1220 Washington Avenue
A\bony NY \1226 - 2060
" City State Zip Code
Individual capacity Official capacity

Page 2 of 11
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 3 of 37

Pro Se 14 {Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IL.

Defendant No. 3

Name Correctiong) Sergeant N

Job or Title (if known) Area Ss uperv) sor

Shield Number

Employer New York Store Dept. of Correctinngs .

Address The Horrimen Stete Campug 1220 Washington Avenue
Aloany _NY 12226-2050

City State Zip Code
itera capacity [orticial capacity
Defendant No. 4 ;
Name Dector S§

Job or Title (if known) Provider ee

Shield Number

ae New York State Dept. of Corrections

Address The Harriman State Compus 1220 Washington Bacue.
Albany ~ 12226-2050

" City State Zip Code
[A inaividal capacity [Motticial capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the
immunities secured by the Constitution and [federal laws].” Under

Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue fe
constitutional rights. :

“deprivation of any rights; privileges, or
Bivens v. Six Unknown Named Agents of
deral officials for the violation of certain

A. Are you bringing suit against (check all that apply):
[_] Federal officials (a Bivens claim)

[7 state or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the
the Constitution and [federal laws].”
federal constitutional or statutory ri

“deprivation of any rights, privileges, or immunities secured by
42 U.S.C. § 1983. If you are suing under section 1983, what
ght(s) do you claim is/are being violated by state or local officials?

The right +o be free Loom Crue\ and Unusual Punishmerrt

The ight to receive adequate medfa|\ treatment}
The _rtawt te lee free from retaliation fer reporting mis conduct

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you

are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

Page 3 of 11
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 4 of 37

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Ii.

Section 1983 allows defendants to be found liable only when they have acted “under color of any
Statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”
42 U.S.C. § 1983. Ifyou are suing under section 1983, explain how each defendant acted under color .

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

Defendants acted fn the ordinary course of business
dunng Nours of noma operations

Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check all that apply):

Oo
O
my
oO

O

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

Other (explain)

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
Statement of each claim in a separate paragraph. Attach additional pages if needed.

A,

B.

If the events giving rise to your claim arose outside an institution, describe where and when they arose.

ff the events giving rise to your claim arose in an institution, describe where and when they arose.

Events arose at Greene Correctional Facility ( Plagscee attach ment,
vali contig detailed desertion) - alee, ‘please see Basis Gr Claim

Page 4 of II
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 5of 37

Pro Se 14 (Rev. 12/16} Complaint for Violation of Civil Rights (Prisoner)

CG: What date and approximate time did the events giving rise to your claim(s) occur?

December 20, 2021, and Decembe, 21, tot, including a\\ dhe
days whith fllowed age this present dey),

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)
Please see attachment whjeh containg detafled deseripiion of
violations
V. Injuries

If you sustained injuries related to the events alleged above,describe your injuries and state what medical

treatment, if any, you required and did or did not receive.

With a histocY of left z¥gomedic-comaxilary comPlex fracture, facial re-
construction surgery (5 Plates, 14 screws), and not quite fully healed as of
12/20/21, blow +o left side of foce caused mere than a little Pain, £ peQuiced at
laask a CT scan, but was only x-rayed and notified many days later thet no
achon wat cequiced, As +0 hand inducy, was x-caYed and notified many days later
Yet no action was cequired , yer subseduently referred +o PhYsical thera ¥.

Renewed IPcult¥ eating, sketing, smiling, think d, feelug, etc. categorically i9nored,

VL Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

AvrroPriate frison terms and fines for defendauts. For actual and
Punitive damages, # 1,000, 000.00 fer defendant is requested,

Let there be a meaning fil overhaul of the corrections arm of. crimaal
Justice. For example, let zere accountability be sufPlanted by reasonable
accountabj |; ty, Trenical/y, Corrections 7s heavily to blame tor & man
Societal ils , Parthcularly violeuce and especially senseless violenze,

Page 5 of 11
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 6 of 37

Pro Se 14 (Rey. 12/16) Complaint for Violation of Civil Rights (Prisoner)

VU. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined

in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.” ae

Administrative remedies are also known as

grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in ajail, prison, or other correctional facility?

Yes

fooNe

Ifyes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Greene Correctional Facility

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

[W ves
ta No

El Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?

[A ves
bo No
[| Do not know

If yes, which claim(s)?

Page 6 of II
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 7 of 37

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

D.

Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

mM Yes
ial No

Ifno, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

El Yes
I No

\

If you did file a grievance:
1, Where did you file the grievance? 4
{
“This playtiCF filed He griewuce aceording +2 Stoudard precedure,

by placing im on envelope addressed +o TGRC and dropelyy
\n mailbox affixed +o nov ’wy ofticer stostion

This Paint EF claimed thet he. wos assaulted ley & coprechonal
of heer , aud thet a security Supervisor emplo ods lati midatou
toctics (a« Ames of caer UP and rehalintton).

2. What did you claim in your grievance?

3. What was the result, if any?
The grievance WG Paty de dled in part pecence of
a fobriceted \aveckaation combaini-y egre dons meppereds sail
tn Port because fhe acre Cotrectiny ffi cer (c) denied
se arrevanty allegation .

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)

Upon notice of the denied gricvance., Ynis Plainkfy timely
appealed yo Cewhal Office Review Commitee with o biel
appeal Sdodement, ‘Ts dafe, Yhe highest level i gx vennce
prrcess has not wade any deciSiou despite ft wet overdue.

Page 7 of I
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 8 of 37

Pro Se 14 (Rev. 12/16) Conzplaint for Violation of Civil Rights (Prisoner)

BE: Ifyou did not file a grievance:

1. Ifthere are any reasons why you did not file a grievance, state them here:

N/A

If you did not file a grievance but you did inform officials of your claim, state who you informed,

when and how, and their response, if any:

A shimely grvevauce wat Ried acto ag \y. More over is

‘ i

e\ anny informed one “selsal Psychdlogis + about hav ky beey

assaulted ly a C.0., iuhmrdated by a Sot, neg locted by OS ete.
\ 4 SA a 2 \ “i
Far whitch this Vat was o fezed crossword putetes

Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

K sgulssequveut grievauce hat was Bled in telatioh to the
Cetaltatfenr For reporhag misconduct appears te. have dis oppeared,
and although a Heenny Wes plawned, no Hearing oF all teole place. .

(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of. ‘your —
administrative remedies.)

VUE. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(2).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

Lb] Yes

Mn

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

N/A

Page 8 of Il
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 9 of 37

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?
La Yes
M1 ve
B. If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (f there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)
1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)
2. Court (if federal court, name the district: if state court, name the county and State)
3. Docket or index number
4. Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending?
[ves
[_]No
Ifno, give the approximate date of disposition.
7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)
G:

Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

Page 9 of 1]
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 10 of 37

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

im Yes
fe] No

If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (ff there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s) wicen AM eqn
Defendant(s) \ewe-+o22_ Dic. Spc. Howstiag , Dolce, Suet, & Orleans Corr Fac.
Court (if federal court, name the district: if state court, name the county and Staite)
Arische 78 diate Court of New Yor le
A\oany

3. Docket or index number

4, Name of Judge assigned to your case

5. Approximate date of filing lawsuit

November of LOIS) Agerovimately

6. Is the case still pending?

boa Yes
[Mino

Ifno, give the approximate date of disposition

7. What was the result of the case? (For examp
in your favor? Was the case appealed?)

In part Affrrmesy amd Ww part Modified os ts
Tien TIL Heery officer's dedermivadion,

le: Was the case dismissed? Was judgment entered

Page 10 of 11
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 11 of 37

COMPLAINT ond BASIS FOR COMPLALNT

Defeladawt #1 CO.¢

Deéce

how

mber 20, 2021, approx. 81Sp, On a whim, c.0. C put M-2, a quasi

detent the cout Peewee net for any pattcularly scheduled

Coun

t_ time, but for the purpose of making an angry announcement

oles

tT too much cigarette smoke \n_ the air, nvtw |Hastanding she herself

havivy only moments prior given express permission to smoke in phe
Ss € + J ¥

“lasd

P tide: badlieeons< stalls only.”

Ana this fairly routine exercise of discre Honary power, 4rom my
Jw

> J walked towards the doorway \eading to the day room with

my

lastic cup in hand merely ty Fetch some water from the

four

tain +e take my preccribed pain medication. However, ¢.0. €

sping ot of her chay it my way to deny passage,

n . it a
A few brief werds where do you. Mink you're going. yan I dow t

thi

k = and "we'll see about thet, imtectwined with a gat

: and nae take my nave and * please call your cupervisor-

Soy salvo +p and fro, Next, ied quite our or nowhere l was

sicick en the hurt left side ae my face by a seemingly well-

erathiced, Pilates - like ‘\mspired lady punch, This did indeed

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 12 of 37

i
i

Cau

€ my head to rotate clockwise, For lack of a more fitting

__ dese

Duck's nib retoted round his head ofter bein 4 shot J a

_Yose

mite Sam's gun.

To Ye sure, nearly all of His dorms attentive, perhaps net se

edulous occupants witnessed this Kefkoesque use of Rree, _

_Wiceede

_ dem:

: jos)

, Nad. the outstanding courtesy 4, of fer me a bottled water paces
)Limplore me to return te my cube, Devastated ed.

eralized oe did exactly Het, trying _ +. fothom ae Vdc si

As T lay down in my cack seething, watch cap pulled down over _

Christmas Eve to make everyone's life. miserable, stil legac

eyes to cover tears of anguish and despair, C-0. C had the

-ye_ 40 continue: anyone else want te challenge my Lhadge
liautherity 2 The instant she promised to come back on

ne, [ simultaneously punched | my cube wall and muttered

ciption i+ was all reminiscent of the manner ‘wn which Daffy. oe

the renee my cight hand,

Seve minutes \ater, beech. Aday Phe Alle lowing words Muar

Igoing te need some cover, I think 1 went +oo far this time.”

]_ptesumed C0. C naturally attempted +o propose an indecent _

pro quo to one & her higher ups, Howving hit a presumably

Filed 04/22/22 Page 13 of 37

Case 9:22-cv-00377-ECC-DJS Document 1

pected negative response, she abruptly hung up the phone

V
proceeded na soliloquy with an unstable demeaner, Tl

write him up foc self- mut letHen disebeying a direct order,

estruction ef state property. Frankly, it is my fearful

mn and belief thet ¢.0.C must hove considered me to

exist las Wer ‘aan personal ecoperty,

. Case 9:22-cv-00377-ECC-DJS Document 1 Filed 04/22/22 Page 14 of 37

Defendant #2 Sot No a i se ae

|
menses rabecsani

December 21, 202}, approx. 7:00, Having reported +o medical as per
__+the sick call request (nse), which I submitted the previous night

ofter | C.0. C was relieved ] was met by several nucses. In the.

wmiddle of what I would call triage in progress, Sgt N stormed
__into ithe room and curtly commanded the nurses to exit, Tina cock fo
Clpbingil witkone estiedien, 507 ROE a ey :

He then peoceeded loriskly te close the small shutters on the.
wall, colleet a pen and poper, pull up a stool to sit face-to-face
with) me, and began by asking : Sy whet happened? Upon.

____ commencing +e deseribe, im visceral discomfort and pain, exact by

what) had occurred giving cise +o my injucies (ice aud Yond) oe

___and_abserving exact \y what Sgt N began by jotting down,
___two gelient factrs emecged which put me on ever higher

____ lech) The first was he unequivecally ignored the whole part

___aloouct| me getting _punched in my face, despite his asking
_which, ¢.0, did it The second was he began by netating

Punched aah: pe Es eee oo ea ie eee eae ae

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 15 of 37

es cing

| that point onward he wrete no more, but a cather

y_ unpleasant dialogue ensued right after I felt

ln gh|

com

elled to reiterate Thet rf got punched in my Ros:

Lm

tioned matter of factly a_law about 4) céudieuun cae

fioeck to which he leaned his head slantwise and like an

old cl

um replied, : Yeah but we don't follow that here.., You're

in +Me wrong Facility, wince Trying to help you out, Tm

trying +o start a cecora for you, ] informed him it Was

not _ my fault they dont follow that here ; also, thet I didn't

evlacly choose +o come \o this facility, My werds,

sting equal pacts acrimony and respect, did Appear to

Sugge
Jd

pre pave e<.\ bile +o erupt from every aperture of his

head,

Once he repeated the line about Trying +o start Om fede

for me, L could not help but ake it sahits Rison? Then, in

VAG WA

Acertain way, loud boisterous, he erupted as only an

impet OUuUS detcann could. After standing up te vehemently

a lam

the door shut, which nearly beaks my injured a. in

the process, Sot. N asserted, ye chould a never did the

diva

tn spit] ft sensing this could be the day thet J

die. I) told Sgt. N_ thet thot was not for him to Say. At

this

aur impromptu little meeting ended,

Tom
7

yy. knowledge ane belief, not a Single M-2 inmate. Was

ever

interviewed Ww connection with the assault iw spite

Case |9:22-cv-00377-ECC-DJS Documenti1 Filed 04/22/22 Page 16 of 37

of their being very specifically Nomed as a witness im

the | oggreg ate,
Case '9:22-cv-00377-ECC-DJS Documenti Filed 04/22/22 Page 17 of 37

Defendant *3 Dr. S
December 21, 2O2\ approx. 75a, She (io, this prison doctor gives

lelligh terror of untimely death within the nuclei of every 3
cell in my uk) waddled into the room, approached me and asked
“which hand is WP” Talking my swollen hand, hardly one second
had} elapsed before her uttering a hackneyed, “J don't think
it's broken, ipso facto placing a grand IWcentions amount of

weight te medicine's power of suggestion. In the next few

__second’s she was turning around speaking ts one of three

X-Tays, More than a litte astonished _by De. a practical |
prentess, almost contusedly ] let her Know a of ter already :

knocked loose, — thet ['m also Bitenne’ about my Foice
As sf, this were all just a kids game of pretend play, she said,

Sand. you got panched im the face, \ put him in for X= TAYS for ee
: his Wend ond face. _ Although dye Srcen accustomed to e
3 deci ta, the most inadequate medical treatment,

rampenanen pe it aieastaetrichtantslildbaniestecitcyietiapiehdldiacidiantidapeciniianieriningeanninnaiccsiiesiiatniin

_me vot just your averege creeps, she exquisitely engenders a

C.0.¢ wotching, including Sgt N, saying, “El put him in for
Jetting hec ‘now. thet i think. I literally Nad. a. few see. ii ee BS

with La Wat. of having been numored, “Oh yeah, i forgot you. iy gS ee
Case 9:22-cv-00377-ECC-DJS Documenti1 Filed 04/22/22 Page 18 of 37

—— 1 sh\\_added, [ed like nothing less than suffice, on Mel Ss

| may be a touch hyper - conspitacy theory- minded; however,
because it did apparently take over one whole weeks for my
_xcrays_+to be interpreted by an orthopedic dector, after the
pictures were taken, it is _my fearful suspicion that
perhaps Dc. S first took the computer disk home, before _
anything else, to werk some Photoshop into the x-ray

moges ,

: Back jin January of 2018, [ maxed out of this fac\ty, A_few.
days iprior to my release, [ had presented te Dr. S my left ring

Finger, which still showed even a week or two after having _

sustained on injary, ongsing swell ng, and disceloration, — so
I solvividly remember her saying, "1 dowt think ifs broken
But ghertly ofter getting out, I went +o Harlem's Lincoln
Hospital Emergency Room for x-rays, and sure enough my
Finger was breken, Needless te say, J received adequate
__medida) treatment then and there. _

Case 9

:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 19 of 37

Defen

ant _*4 Act. Com, A

Decerq

ber 20, 2021, approx. B15 p, €-0.C'5 work habits and unit

tion under the color of the Stote of New York's Department

produ
f

of Ce

trecHons and Community Supervision ond the laws which

gover
o

it, Lam afraid to opine Get alone voice) are

mcen

Teovertibly, undeniably attributable te the working habits

and wu

nit production of one Act. Com. A,

Indubjtab ly, itis difficult if not impossible in all seriousne ©

conje
NN

shock’

ture who else might be ultimately responsible for the extant
ng_and repugnant thrust of a current Doccs workplace

cultu

e, along with +he output it produces like no other

entity,

But pethapsk the concept of ... wait for it... . Conflict of

lntere

st (?) may shed some illumination on. at ete port ef the

true

meaning of " Barriers Re Ewtry..

As Dé

\CCS General Counsel cepresenting/defend ing DOCccS probably

self-serving interests AND as DOCCS current Acting Commissioner

Coe ng

a staggering plethora ef Deputy - and Sub 7 and Deputy- Sul

Commis weed) Sieresanting/ leBaastad vic are supposed to be
Society ‘s interests oe Os ile bts Enhancement — there An tid
be sone valid reason to believe there exists o trowlling conflict

of mt

he acts

rests. In such a convoluted leadership cole it is plausible that

\n the

as judge, jury, and executioner of profoundly actid, covert sorts,

Same Vein, it is outrageously unwise for any business owner

Se

_wende

_carcied out on Earth's ground to say the least I dare say

tryin 19).

Case 9}22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 20 of 37

to lave one bookkeeper in charge of beth business account

deposh
be vo

te AND business account withdrawals, as there would _ ee
safeguard against the lugubrious loss of liquid.

_l_darle say his office is a loaded emblem cf mere stage performance,

and Hat a very peculiar flavor of almost any thing goes wWtiekies

down Ithe ranks unbothered, surreptitiously maintaining hips ee ae
ancient tradition of

1. Gratuitous corporeal punishment ele

ae) Freewheeling > psychological abuse _

Te

_I_dare say the twe line items above are contrary too :
_certeip Vision and “Mission Stotement, which is indeed

rfully written, however, it is surely act wonderfully

that if the two line items above _ were clearly Sanctioned

Ony Ww

here within the DOccS Vision and Mission Statement

{ would not dare £oy. any thing whatsoever albout what Yim ae

te say here,

Ca

5e 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 21 of 37

BASES FOR THIS 42 us.c, SECTION 1983 COMPLAINT

j Recurcing themes of Cruel and Unusual Punishment

One day tA ZOInS \3, at Orleans Correctiona\ Facility, ‘ overheard

on exchange of words between another \nmote Bind Oi cocrechHonal

of fi

ec, this took place in ae Ceamera~less microg hone - Fane)

Spec

al Housing Unit a couple of cells away fake mine, The

inmate's Name WAS, if ] recall corcectly, Palmetto, The

correctional officers name was indeed Nicholas, I will never

forge + it.

As

cer Nicholas Was going ce\\ +o cell passing out meals

there Was a pcoblem ot tee tes cell, He spilled Some juice

arab)
J

ing \nis_cuwp threugh the slot in the door, which fell on

Nich

Las boot, This ageatent accident triggered such extreme

\re |

Nicholas thot even as Palmetto Was “offering profuse

apelagies, Nicholas kicked the slat shut hard, And i+ happened

that] one of Palmetto’s fingers was hurt in thot process,

Palmetto decried having his Finger Crushed . because of ay accident,

cequebted immediate ynedice\ attention, Officer Nicholas emphasized

how

Palm

uch Palmetto ceally did not want te ge +hot courte , lbw
t+to insisted, Ostensibly, Nicholas acknowledged, agreed,

wailed ANAY,

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 22 of 37

Upoy

Nic

ceturning. To my cell from the shower later that evening,

holas came to ry cel| admonishing me to listen very
Fully to +he aoe 6 few minutes, Presently I heard , Get

Car

the lfuck rat the wall, I said get the fuck against the aadtt:
} Fo\\ wing these Commands I beaid distinct blows and their
, acedmponying results - the wind being Knocked right owt of one's
lungs.
} Offiker Nicholas asked Palmetto. ee still want medicel
} att athe: to which. the latter unequivecall y answered, "No.

A fe More blows ensued, with Nicalag naling "Ace Ya ae
} Palmetto offirmed he was sure, and would : quiet thereeSter,
b On a separate, though similar Occasion | o problem afose out
of another inmate's Spanetaable cnvettion i Nicholas’
cefarcing to him as a nigger, This merely provoked Nicholas +e
| eved more impudently Hecehe " Jt eall you oa nigger to your

face | Nigger, nigger, nigger ! Dew make me mop the grate
wit YOUL foce \"
In Keeping with a uniform custom ef rank cruelty, Sergeant Huct of

Orlepns Correctional Fact lity, in 2012- 13, had threatened +o make

=a

ngements for me_ to go +o hes teu" if L raised one more issue

a wrist injury ies l sustained after slipping and falling

wet floor Though Pat sulmit: grievance, under one

gettoble and menacing intimidation play ly an mtuciebed

eer whe pulled me out of the Se ducing count Hime,
igned off on the spot to cance | my complaint,

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 23 of 37

In 2020-21 at Coxsackie Correctional Facility, a peer with

whom J was well acquainted, one Jeremy Jdicth i. failed

atte pts +o seek help), had committed suicide, J watched his
; body being dragged through the corridor along the floor using

a sheet, net a stretcher, ner a gurney,

January 52022, oat Greene Correctional Facility, | was

___informed thot [ was +o report +o the package room ~— under

the false pretense thot there were new guitar strings fer_me te

pick
qT

wp — and to bring in for exchange my old strings. After

handing over_my old strings, 1 was asked to wait outside in Freezing

cold

weather while the new strings were locked for, About Fifteen

____ minutes had elapsed bette. tire eylenred toe. lowilding to respectfully

ee; ask \

to _\o

what if anything, the problem was, The officer pretending

k for my new guitar strings made a couple of sexually

napa
1 1

____ Fina)

ropcriote jokes about me missing mya-string. and then
1 J ws 7 TF Se.

Eee

y +eold me no new strings could be found and to return

housing unit, “Thus ‘ ove since been wrongly denjed

my righFfal privilege of playing my guitar, which has caused

a ee”

reat ites pecauge ilayina ° it praviled a cotharsis [

have

never previously ic

On March. 3. 2022, Greene Correctional Faci lity in_all_ of its true

claloa

rs, would respond however tardy +o my request to speals

with

Someone from the Office of Mg kt Health. Having the

plea
eo

sure of meeting one Miss Cellot, the echael Scan)

L_ recounted te her Ta Vumerous Undue stressors happening +o

just
J

cascade down Upon the s)iver of sanity | chrugale Bode

40

7
ling onto,
J

Case 9:22-cv-00377-ECC-DJS Document 1

Filed 04/22/22 Page 24 of 37

ironically, 1 was denied the opportuni ty +o

imstan ce.

iculate tn the Hudson Link college program despite the

thet I completed the pre-college program,

passina every
we J -
including the final exam,

The

reason so far as | have been advised,

is thet my G.E.D

cany

since without font rmetion

rot be confirmed | Interesting,

ofa

G.E.D. one cannot sign up for pre-cellege to begin with.

Then, as l assert tn this complaint above, j reseuwred te

Hot ‘Li was akcaulted by an of ficec, intimidated by a

9 ant neglected by medica],

attacked subsequently Le twe

tes, Falbed of almost $500, O08 See at painted property:

d use of my instrument, etc, ete, Al) for uhigh. she

ot fe a

ted me Some deicewake puzzles to alleviate my angst,

AGS

Lage my frushoton.

a Recurring +hemes Relating Te Theft From Interstate Shipment

Piq- 20, af Clinten Annex, incorrigible package room officer,

ae would repeatedly deny me food items I purchased from

s, located in Edison, New Jersey, which were clearly ees late

tdi to Directive ¥ 491]. erect times J was pines

stlens receipts thet_were falsified sien dae so uted

ious omissions. Even after

“winning. oO grievance concerning

enduct by C-0. Miller, who in fact may have had hundreds
rievonces submitted because of her unrelentin

mi conduct

Sp ——.

ackage Croom \ssues only intensified
t J eso

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 25 of 37

At _Cexsackie Correctional Facility, in_ 2020-21, the package Coom

officers Cc seain To swap name tags +o ek ek eet k b inmates

who might try to file arfedeiiggs) net on indelible impression on

me + i likely very many others — thet is both oo eit ble and

unto

gettable, I ened order food and snacks trom the

a Eotnenteicd vendor, Emmas, in New Jersey. Of the $175.00

oases that ] made on averoge per het: at least $30.00

QuUtc
wortih of items would le missing time aind Hime again, Regular
age foom officer, Co, H. Tacha boldly fell me thet she

pac

at required to give me my sales invoice, Moreover, I was

Was
Neve eat to eat the eontene of my packages,
partieularly ones with a lot of items at hie package room,

Grievances ] Eubast ted over these constant package croom

prob

ems were oan absolute exercise \n Futility. Ne\ther

the grievance supervisor, Mr, Jeffrey Hale, nor Captain M,,

ever

hated x thing. +o. redress the earth thievery and

deception hy We. package Toom cabal at Cea.

3. VOICE TO THE VOICELESS: Popular sundry complaints ignored

aS on unwritten cule, ‘including but not limited +o...

o) Salf-serving sav eared emails prompt dialogue box which reads:
Contains plans for activities which viclate Doccs policy. ws other

Werds,

Doccs peal bits inmotes from planning to sue DOCS, from

send

ng “secure. messages that so Piect any negative light,

how g

vex true and epee upon DOCCS out to famtly and ates ude

b) Prefessional correctional officers openly bluster, "Ll wipe my ass

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 26 of 37

; : u
with your grievance,

c) Law library designer access shenanigans ta Fully loaded

“ghost? hae low wl og

d) Slave Wages since the 1800,

€) Expired food, spoiled milk served up for “chow as necessary,

f) Clr nic pregfam, academle, ana voce onal closings bt show

Salarie jujiteu).

9) ARP vder: Renabilcdetive ‘Coordinitor ‘quactecly” appointment

disappbintments (neglecting +o actually be Sdlieia lea )

h) Conttont statewide lost /stelen inmate property (including

intellet cnet propecty) {ssues in general,

2 Summacy/ arbitrary confiscation of 1D cards (imposes stiff

hardship on visits, eee comm) ssaty, recreation, getting legal

moil, ovement to the mess hall),

j) Extended waiting time for incoming/autgoing correspondence,

even \j gal mail.

‘ “ ae
k) Facilities with micrewave ovens claiming to be non- coo King

facilities. yet selling cocking oil, tomato paste, uncoe ked
spaghelty, ziti, ete. in their commissaries.

Case 9{22-cv-00377-ECC-DJS Documenti1 Filed 04/22/22 Page 27 of 37

___\)_ Medikal files doctored from time to time, and here and there |

AS ne gessar y. a a ae ee ee ee eS ee

m) DOdCS _ only tel ling the truth when it is convenient for
DOCES ‘only fol lowing. its own rules and regulations wh Qn es a
convenient for DOCCS, only announcing to its captive,

> _subjugated population, the public at large, state and federo|
__ authorities, ANYTHING when it is convenient for DOCCS.

___Wherefoge, | have come crashing to the sebering conclusion thet
__perhaps| DOCCS probably should be investigated as a likeness to a
Racketeering Inf luenced Corcupt_ Organization. And that perhaps
its likeness to having a. monopely _in Human Trafficking science _ 5

econ the begin ug tee
A Respeet iis stat tbel et EES Fy ha ae

Gee EE i eg | a as enn GO a

NOTARY PUBLIC, STATE OF NEW YORK.
Registration No. 01Y06395894

¥" 7 ee es Qualified in Montgomery County bares
My Commission Expires August 5, 02

Case 9:22-cv-00377-ECC-DJS Documenti1 Filed 04/22/22 Page 28 of 37

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IX. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or bya
nonfrivolous argument for extending,

modifying, or reversing existing law; (3) the factual contentions have —
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
Served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Daie of signing: A Pc | 10, 2-022.

Signature of Plaintiff \

Printed Name of Plaintiff asou - Aneta

Prison Identification # LAAHLO gq

Prison Address 465 Plank Road P.O. Box WTF

Coxsacierve Wyre: > 42S)
City State Zip Code
B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm

Address
City State Zip Code

Telephone Number

E-mail Address

Page 11 of 11
12/30/2021 & 49 ~0,

$8 999 24N,5839%-ECC-DJS Document1 Filed 04/22/33°® BageSo bt 37

ALBANY MEDICAL CENTER
Albany Medical Center Hospital
43 New Scotland Avenue
Albany, New York 12208
Phone: (518) 262-8440

Printed: 12/30/2021 8:48 AM

Patient Name: VEGAI19A4109, JASON Sex: M

DOB: 12/13/1977 Pt. Class: x

Accession No: 8245899 Order No: 90001

Med. Rec. No: 000000015953 Pt NS/Room: CF GRN-

Ordering Dr: DOREEN SMITH, MD Attending Dr: DOREEN SMITH, MD

Patient Phone: Visit Number: 000000014273
Final Report

DATE OF EXAM: Dec 21 2021
HAND, RIGHT- 3 OR MORE VIEWS (Acc#:8245899):
EXAM: FACIAL BONES, 3 OR MORE VIEWS, HAND, RIGHT- 3 OR MORE VIEWS

HISTORY: 44-year-old male presenting after an altercation with swelling of the right hand and pain in the left cheek. History of a
left zygomatic fracture.

TECHNIQUE: 3 views of the right hand and 6 views of the facial bones.
COMPARISON: None.
FINDINGS:

Anatomic alignment of the right hand. No acute fracture or dislocation. No significant degenerative joint disease. No focal soft
tissue swelling.

Postoperative changes status post right zygomatic and orbital wall fractures with 4 malleable plate and screw fixation constructs.
Hardware 1s intact and appears well-seated. Curvilinear lucency extends to the superior lateral aspect of the left orbital wall with
associated fixation hardware, likely the sequela of prior fracture. No radiographic evidence of a new facial fracture. Visualized
sinuses are clear.

IMPRESSION:
No radiographic evidence of fracture of the right hand or facial bones.

Postsurgical changes of the right orbital wall and zygoma.
Signed by Kimberly Owens, DO 12/28/2021 9:20 AM

Read by: KIMBERLY OWENS DO
Report reviewed by:

A gre
Report reviewed and signed by: KIMBERLY OWENS D oe eee wow pe
Signed on: Dec 28 2021 9:20A a Ns

DOREEN SMITH MD Sn ah WD
GREEN CF ) 0} 6
COUNTY RTE 9

COXSACKIE NY 12051 Transcriptionist: On: Dec 28 2021 9:15A

lof1
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22

Page 30 of 37

|VEGA, JASON

GRIEVANCE NO. DATE FILED

GNE-0004-22 1/3/22

FACILITY POLICY DESIGNATION

GREENE |

TITLE OF GRIEVANCE CASE CODE
INCARCERATED GRIEVANCE PROGRAM Assaulted by Dorm Officer 49

SUPERINTENDENT'S SIGNATURE DATE

SUPERINTENDENT RESPONSE Z < Nl ree
GRIEVANT 0 HOUSING UNIT
19A4109 OL-01-22B

SGT N. interviewed the grievant and escorted grievant to the infirmary for evaluation. Grievant had
slight swelling to outer aspect of right hand as well as some discoloration of palm consistent with
punching a locker (as was reported). No injury to left cheek noted. CO C. was interviewed. CO C.
denied the grievant's allegations. The grievant's allegations could not be substantiated.

Grievance is denied.

APPEAL STATEMENT

If you wish to appeal the above decision of the Superintendent, please sign below and return this copy to the IGRC at the facility
where the grievance was filed. You have seven (7) calendar days from receipt of this notice to file your appeal.* Please provide

a reason why vou are appealing this decision to CORC.

The above pucju and oe
as sath aa ule safety

my wy m court have o«

nice day,

nials are ‘inconsistent wh reality,
enhance ment, Loelkeivy forw +9

(Wakee

vfas)ar

a ae a
GREVANFS SIGNATURE

GRIEVANCE CLERK'S SIGNATURE

“An exception to the time limit may be requested under Directive #4040, section 701.6 (g)

Form 2133 (12/21)

a DAE

DATE

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 31 of 37

KATHY HOCHUL ANTHONY J. ANNUCCI

Governor Acting Commissioner
MEMORANDUM
From: Rachael Seguin, Acting Director, Incarcerated Grievance Program
SUBJ: Receipt of Appeal
Date: 2/28/2022

14%

ple
J VEGA 19A4109

Greene Correctional Facility
Your grievance GNE-0004-22 entitled

Assaulted By Dorm Officer/Intimidation By Sergeant
was rec'd by CORC on 2/8/2022

A disposition will be sent to you after the grievance is reviewed by CORC

The Harriman State Campus, 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 | www.doccs.ny.gov
Case 9:22-cv-00377-ECC-DJS Document 1 Filed 04/22/22 Page 32 of 37

STATE OF NEW YORKDEPARTMENT OF
CORRECTIONSAND COMMUNITY SUPERVISON

ee 87.

FROM THE DESK OF:

ANGELENE STEVENSON
Deputy Superintendent for Progra

Greene Correctional Facility
- Tr Accoos

INVESTIGATE AND HANDLE DIRECTLY.
WITH A COPY TO MY OFFICE

PLEASE CONFER WITH ME

PLEASE HANDLE DIRECTLY

PLEASE PREPARE REPLY FOR MY SIGNATURE
COMMENT AND RETURN

FOR YOUR INFORMATION

PLEASE REPLY ON MY BEHALF WITH
COPY TO ME

INVESTIGATE AND ADVISE ME OF YOUR
FINDINGS AND ACTIONS IN WRITING

Jess- ,
@r-orechve We don't
Cdvance CUnas SO
CariGed Mmorluntess —
Ibs randested lat Aare.
udhich Er ws te Shad
rep, Vert Ceadionop —

T.VeGa - (9. AYMOF

oooooooog

BY C.O.B.

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 33 of 37

i vt a boo eee pA rob Mies tas
ott wee We i Naas a2 <<. Celss Nowe Ol
2 Vii i

ee TATE | Comn FUER iE : Su ne curly ES ECR

KATHY HOCHUL ANTHONY J. ANNUCCI

Governor Acting Commissioner

To: VE6A TF. /9A YOF

From: 1.G.R.C. Office

Date: Oo xf 7/2 >.

Subject: Status of Complaint tee O-/-/ 7
___Your correspondence dated was received on____———C. YOU Carn address

your issue by:

_—__Your complaint(s) dated will not be filed for the following reason(s):

Year complaint(s) dated 03/1 2 = has been filed under the log number below:
GNE-_ 472-22 Code:_ 22
Subject/Title: IOVS reac: naw was filed on €g, Clzz.

A A formal hearing will be conducted by the grievance committee (I.G.R.C.).

___ Based on the circumstances your grievance was forwarded to the Superintendent for action
and investigation. No 1.G.R.C. Hearing will be held.

Your I.G.R.C. hearing is scheduled for: CHECK THE CALL OUT SHEET!

Day: Date: Time:

“You may withdraw your grievance in writing or sign off at any time. Remind your dorm officer that you have a hearing.

___| request an extension until . Sign Date: Received:
___Pass my grievance through to the Supt.. Sign Date: Received:
___Pass my grievance through to CORC. Sign Date: Received:

Please be advised:

Greene Correctional Facility, 165 Plank Road. P.O. Box 8, Coxsackie. NY 12051-0008 | (518) 731-2741 | www.doces.ny.gov
Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 34 of 37

GRIEVANCE NO. HEARING DATE

GNE-0130-22 4/6/22

GRIEVANT NAME DIN

VEGA, JASON 19A4109

FACILITY HOUSING UNIT
INCARCERATED GRIEVANCE PROGRAM GREENE OD-01-19B

IGRC HEARING RESPONSE pte? IN ARSE Ta
[Jyes [m]No _ Ifyes, why:

Response of IGRC:
It appears grievant's medical needs are being addressed. Grievant can further address this via Routine
Sick Call (RSC) and by attending physical therapy.

Committee does not find in favor of grievant.

Eateries IGRC Members: Vobogy
Clas) a

hus Glee
4

Date Returned to Grievant: dlolae

Appeal:

If you wish to appeal, please check the appropriate box below and return within 7 calendar days to the IGRC
office at the facility where the grievance was filed.*

oa | disagree with the IGRC response and 7 | have reviewed the Deadlocked response.
wish to appeal to the Superintendent. Refer to Superintendent.

eI | agree with the IGRC response and (7 | want to apply to the IGP Supervisor
wish to appeal to the Superintendent. for review of the IGRC dismissal.

Grievant Signature: ee Date: ¢ [9/22

*An exception to the time limit may be requested under Directive #4040, § 701.6 (g).

To be completed by Grievance Clerk

Grievance Clerk Signature: Date Received:

Date Forwarded to Superintendent For Action:

FORM 2131 (Reverse) (12/21)

BRM 22- “C0037 HECC:DIS Document 1 Filed 04/22/22 Page 35 of 37
To: Oreene Core, Fac, Supe rintendewt Smith

Fiom: dasen A. Nega #19ANI048 paz

Suiieck :. April 6, 2022 IoRC Hearing

ek When ate brolken bones treated with thysical therapy ?

Since eek are broken banen treated First with one's Provider

ma long jokes albout forgethng what + hat patient just described :

as Serious ? ~ Oh, that's cight, \ forgat you Sai id’ you got punched

wn the face. fi put him in L. x~ (ays I fy hic Lae and haek

1 was cegorting having been assaulted \y ar officer and

Vaterest vigly ° enough, the so-called thee paid His fret no

wi nd.

! Secoud writ (epectadl y boeing tele paely tm) aries ure @ \+he,

ea oF “psychosometic. land Hot it's nothing Po erry

ow) being 4o|4 physical Hera py is. all ake (eg ead

Man

yo nedhou [was| eal itially.

bares all due re<pect, Sir, +his oncapiig case \s really dragging :

on your watch,

IAs part of - Cover-up ane AS gor t of same retaliation

Sortie, thet your [GRC would not decide in my favor

was +o be expected,

H behooves you, Frankly +, ctawd up and just do +he Cight

thing ~ whetever tat might be,

Case 9:22-cv-00377-ECC-DJS Document1 Filed 04/22/22 Page 36 of 37

NEW. | Corrections and
stare | Community Supervision

KATHY HOCHUL ANTHONY J. ANNUCCI
Governor Acting Commissioner
FO: J. Vega, #19A4109, D1-19B

From: Brandon J. Smith, Superintendent

Date: April 18, 2022

Subject: IGRC Hearing

This is in response to your recent letter dated April 6, 2022, regarding your IGRC Hearing.

The Incarcerated Individual Grievance Program has its own appeal process. If you are not
satisfied with the outcome, you should follow the proper appeal process.

Brandon J. Smith
Superintendent
BJS/pen
c: file

Greene Correctional Facility, 165 Plank Road, P.O. Box 8, Coxsackie, NY 12051-0008 | (518) 731-2741 | www.doccs.ny.gov
Gase 9:22-cv-00377:ECC-DJS

.
3

spo dry ay arg ih

._ Document de; riled: O4/22/22

Page 37 of 37

‘CATV

pony owe

.
ay eet

S} SS2Ippe Ssoys

Todn -

pettemsne | reat ote

state ating.

a
Neotel iiee: we etln 8 Gite sey c
.
3

pompene sig to Adoog paises SABy LEG

Ambadyo Aqjened sepun arepoap §

‘ oo ee
AOIAWAS 30 NOLLYWELaAY

-

.
rereskgtapereets ane wnt tet mcrmitcnee  uynedt one DB HS Shae whee Beatles

7 :

a

tarps

3 ae ‘fo Poni 20 Arent

SaursSQwiwo> . bu Hey

ee.

; won. v seen

D Reged wane LGA

vee wml themese, tne
ote ope seat AND.

2 eek heer retort ake
:
‘.

mHOX AS HO ioniisid

=

ee ae ee SALYLS CHINO
